
USCA1 Opinion

	





                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 94-1385                            JUAN FRANCISCO CORDERO-TREJO,                                     Petitioner,                                          v.                       IMMIGRATION AND NATURALIZATION SERVICE,                                     Respondent.                                 ____________________                          ON PETITION FOR REVIEW OF AN ORDER                         OF THE BOARD OF IMMIGRATION APPEALS                                 ____________________                                        Before                                Boudin, Circuit Judge,
                                        _____________                            Aldrich, Senior Circuit Judge,
                                     ____________________                               Young,* District Judge.
                                       ______________                                 ____________________            Maureen O'Sullivan with whom Harvey Kaplan, Jeremiah Friedman and
            __________________           _____________  _________________        Kaplan, O'Sullivan &amp; Friedman were on brief for petitioner.
        _____________________________            Iris Gomez with whom Massachusetts Law Reform Institute was on
            __________           __________________________________        brief for Guatemaltecos Unidos En Accion of Rhode Island and        Massachusetts Immigrant and Refugee Advocacy Coalition, amici curiae.            Donald E. Keener, Office of Immigration Litigation, with whom
            ________________        Frank W. Hunger, Assistant Attorney General, and Philemina McNeill
        _______________                                  _________________        Jones, Office of Immigration Litigation, were on brief for respondent.
        _____                                 ____________________                                  November 23, 1994                                 ____________________                            
        ____________________        *Of the District of Massachusetts, sitting by designation.



                      ALDRICH,  Senior  Circuit Judge.    Petitioner Juan
                                _____________________            Francisco  Cordero  Trejo  claims  the  Board of  Immigration            Appeals  ("Board")  erred in  dismissing  his  appeal from  a            denial  of  asylum  and  withholding of  deportation  by  the            immigration judge.   Cordero's  principal contention is  that            the  Board,  in  summarily  adopting  the  IJ's  conclusions,            ignored  substantial portions  of the  evidence and  accepted            inappropriate  assumptions  about   how  Guatemalan   society            operates in  concluding that his claim to have a well-founded            fear of  persecution if returned to  Guatemala contains fatal            "inconsistencies"  and  "implausibilities,"  and  that  he is            statutorily ineligible for either asylum or withholding.  See
                                                                      ___            8 U.S.C.    1158(a) and 1253(h) (1988 &amp; Supp. IV 1992).                      After  full  review,  we  hold  that  the  findings            underlying the Board's conclusion that  Cordero is ineligible            for asylum are  not supported by  substantial evidence.   The            Board's  adoption of  the  IJ's findings  and conclusions  is            unreasonable  when evaluated  in  light of  the  record as  a            whole.   Universal Camera Corp. v. NLRB, 340 U.S. 474 (1951).
                     ______________________    ____            The  Board's  initial basis  for  denying  Cordero's bid  for            asylum,  i.e.,   the  IJ's  extensive   negative  credibility            findings, are without foundation in the record.  The  Board's            alternative  holding that  Cordero is  statutorily ineligible                                         -2-
                                          2



            for asylum based  upon, inter alia,1  its conclusion that  no
                                    __________            one in  Guatemala "is interested in  him for any  of the five            statutory grounds for asylum,"  In re Cordero, No. A70438773,
                                            __ __ _______            slip  op. at 2 (BIA Mar. 22,  1994), can only be derived from            reliance  on  those  unreasoned   findings  to  discredit   a            substantial  portion of  Cordero's  evidence.   Finally,  the            Board did  not  evaluate  the record  "in  light  of  general            conditions"  in  Guatemala and  failed  to  consider evidence            concerning  the  pattern  and  practice  of   persecution  of            similarly situated  persons in Guatemala, as  required by INS            regulations.  8 C.F.R.   208.13(a) and (b)(2)(i).  See Osorio
                                                               ___ ______            v. INS, 18 F.3d 1017, 1031 (2nd Cir. 1994).   Accordingly, we
               ___            vacate the  Board's eligibility determination and  remand for            new proceedings in accordance with this opinion.                                          I.
                                          I.
                                          __                                     BACKGROUND2
                                     BACKGROUND
                                     __________                      Cordero is a native and  citizen of Guatemala.   He            was born  in 1948,  and completed  high  school and  attended            medical school there.  He was a 42 year-old married father of            four  daughters,  a  small  property  owner,  and  owner  and                                
            ____________________            1.  The  Board   also  based  this  alternative   holding  on            Cordero's failure to  show past  harm and the  fact that  his            family remains in Guatemala  unharmed.  These are statutorily            insufficient  grounds for  a denial  of asylum,  as discussed            infra.
            _____            2.  Except where expressly indicated, the facts stated herein            were not contradicted.                                         -3-
                                          3



            operator of a successful construction  business that employed            dozens of workers  when he  fled his country  in November  of            1990.  He enjoyed a good standard of living, had savings, and            sent his daughters to private school.  His wife and daughters            remain in Guatemala.                      From  1976  to  1990   Cordero  also  worked  as  a            volunteer with "Laicos Comprometidos" (the committed laymen),            a religious organization dedicated to  promoting the Catholic            faith, to  providing medical care, food and clothing to needy            Guatemalans and  to helping them "rise  above their poverty."            He travelled  on these  missions approximately three  times a            year to remote  areas which  had been hard  hit by  conflicts            between  guerrillas  and  the  Guatemalan  military.  Cordero            testified to having been stopped many times on these missions            by  armed groups who accused him  and his fellow missionaries            of inciting rebellion among the rural people.                      In   1985  Cordero   began  to   receive  anonymous            threatening phone  calls warning  him to stop  his activities            with Laicos.   Then, in 1986,  Cordero's younger brother  was            attacked by armed men who stabbed him multiple times, stating            that this was a  warning for Cordero.  Several  months later,            Cordero's older  brother was attacked by armed  men who threw            him  off a  cliff,  stating that  it  was on  account of  his            brother's (Cordero's)  failure to heed their  warnings.  Both            brothers  survived,  and   remain  in  Guatemala.     Cordero                                         -4-
                                          4



            testified that both  before and  after these  attacks he  and            members of his  family were  followed on the  street and  his            house was being  watched.  He reported  the threatening phone            calls  and  surveillance,  but   was  unable  to  obtain  any            assistance from the National Police.                      In  November of  1987  Cordero was  stopped by  the            army3  while on  a mission  in a  region plagued  by guerilla            unrest.   He was interrogated at length about his motives for            coming  to  the region,  and when  he  explained he  was with            "Laicos Comprometidos"  he was accused  of inciting rebellion            among  the people.   Several  priests  with whom  Cordero was            intimate  were  killed in  the course  of  their work  in the            countryside.   In 1989 Cordero suspended the  activities of a            group  of lay  social workers  that he  and some  friends had            founded to help troubled teens because of a  telephone threat            they received.4                                
            ____________________            3.  In his  affidavit in  support of his  asylum application,            Cordero states that he was "arrested" by the army.  Later, in            response to questioning before the immigration judge, Cordero            stated that he had never been arrested in Guatemala.   The IJ            in his opinion and the INS in its brief ignore this incident,            whereas Cordero's  brief maintains  he was in  fact arrested.            Because the record  offers no reason to believe  the incident            described here did  not occur, we feel  it is safe to  assume            that Cordero probably understood the word "arrest" as he used            it  in his  affidavit to  mean "stop,"  rather than  its more            specialized criminal law meaning.  We believe the discrepancy            can  therefore  be   simply  explained  by  inadequacies   of            translation.            4.  This incident too, although  not contradicted anywhere in            the  record, is  not acknowledged  by either  the immigration            judge or the INS.                                         -5-
                                          5



                      In  June of  1990, after  twelve years  of service,            Cordero resigned  from Laicos because he  believed this might            put a stop  to the  campaign against him  and his  activities            that was terrorizing his family.  However, in October of 1990            he was accosted  on a city street by armed men who identified            themselves  as belonging to the "death  squads."  They warned            him to abandon  the country and that this  would be his final            warning.  They robbed him, but did not harm him physically.                      Cordero  claims that his  family was terrorized and            that his own fears of persecution crystallized at this point.            He believes that if he returns to Guatemala he will be killed            by  those who continuously threatened him.  He was tempted to            leave  Guatemala that  night, but decided  instead to  try to            leave legally.   He  obtained a passport  without difficulty,            but  was turned  down by  the United  States Consulate  for a            visa.    He   then  left  Guatemala  on  November  21,  1990,            travelling by bus and on foot through Mexico.  He entered the            United States near Brownsville, Texas on or about February 2,            1991   without  inspection   and  was   apprehended   by  the            Immigration Service shortly thereafter.                      In deportation  hearings held in March  and June of            1991 Cordero conceded  deportability and  applied for  asylum            and  withholding  of  deportation,  and  in the  alternative,            voluntary departure.  Immigration and Nationality Act    208,            243(h)  and 244(e), 8 U.S.C.     1158(a), 1253(h) and 1254(e)                                         -6-
                                          6



            (1988  and  Supp.  IV   1992).    The  IJ   denied  Cordero's            applications for  asylum  and withholding,  but  granted  his            request  for voluntary  departure.   Cordero appealed  to the            Board.  On  March 22,  1994 the Board  dismissed the  appeal.            The Board relied on adverse credibility findings by the IJ in            reaching its decision that Cordero did not meet the statutory            definition   of  a   "refugee."     INA       101   et  seq.,            101(a)(42)(A), 208(a), as amended, 8 U.S.C.     1101 et seq.,            1101(a)(42)(A),   1158(a).      The   Board   reasoned   that            "inconsistencies    and   implausibilities"    in   Cordero's            application  rendered him  unworthy of credibility,  and that            even  if  credible,  he  had failed  to  establish  statutory            eligibility for asylum because  he had not shown that  he was            ever harmed  in Guatemala,  or that  his family  remaining in            Guatemala had  been harmed, or  that "anyone in  Guatemala is            interested in him for  any of the five statutory  grounds for            asylum."   In re  Cordero, slip. op.  at 2.   The Board noted
                       __ __  _______            that  suffering from  civil disturbances and  fleeing general            conditions  of  violence  do  not qualify  an  applicant  for            asylum.                      Cordero now appeals.                                         II.
                                         II.
                                         ___                        EXHAUSTION OF ADMINISTRATIVE REMEDIES
                        EXHAUSTION OF ADMINISTRATIVE REMEDIES
                        _____________________________________                      The INS  charges that  Cordero did not  exhaust his            administrative remedies because until now he has claimed only                                         -7-
                                          7



            religious  persecution,  and failed  to claim  persecution on            imputed political opinion and/or  social group grounds, as he            now seeks to do on appeal  to this court.  This contention is            without  merit.    See  generally  the  United  Nations  High            Commissioner   for  Refugees,  Handbook   on  Procedures  and
                                           ______________________________            Criteria for Determining Refugee Status (Geneva, 1979),    66
            _______________________________________            and  67.  Not only did Cordero  check the social group box on            his  I-589  application  for  asylum, the  immigration  judge            framed the discussion in his order and opinion principally in            terms  of the social group ground.  Moreover, the language of            the Board's  decision reveals  that  it considered  Cordero's            application  lacking with  respect to  "any one  of the  five            statutory grounds."5  In re Cordero, slip. op. at 2.  
                                  __ __ _______                                         III.
                                         III.
                                         ____                                  STANDARD OF REVIEW
                                  STANDARD OF REVIEW
                                  __________________                      We review  findings of fact and  credibility by the            Board "under a deferential 'substantial'  evidence standard."            Alvarez-Flores  v. INS, 909 F.2d 1, 3 (1st Cir. 1990); Novoa-
            ______________     ___                                 ______            Umania v. INS, 896 F.2d 1, 2 (1st Cir. 1990) ("we must uphold
            ______    ___            any  finding  of  fact  that  is  supported  by  'substantial            evidence'").   Board determinations of  statutory eligibility                                
            ____________________            5.  Petitioner  stated  his fear  to  be "on  account  of his            membership  in  the  social  group  of  religious  layworkers            (catechists) and on account of the political opinion which is            imputed to such people, and to the Petitioner in particular."            We  regard Cordero's  application for  asylum as  justiciable            under  any one or several  of the statutory  grounds that the            record as a whole supports.                                         -8-
                                          8



            for   relief   from  deportation,   whether  via   asylum  or            withholding,  are  conclusive  if  "supported  by reasonable,            substantial, and probative evidence on the record  considered            as a whole."  8 U.S.C.   1105a(a)(4) (1988).  Gebremichael v.
                                                          ____________            INS, 10 F.3d 28, 31 (1st Cir. 1993).
            ___                      Under  normal  principles  of   administrative  law            governing the role of courts of appeals when reviewing agency            decisions for substantial evidence,                      [t]he Board's findings must  . . . be set                      aside when  the record before a  Court of                      Appeals  clearly  precludes  the  Board's                      decision from  being justified by  a fair                      estimate of the worth of the testimony of                      witnesses  or  its  informed judgment  on                      matters within its special  competence or                      both.            Universal Camera, 340 U.S. at 490.  This is to ensure that an
            ________________            agency  "keeps  within  reasonable   grounds."    Id.    See,
                                                              ___    ___            Ghebllawi  v. INS, 28 F.3d  83, 85 (9th  Cir. 1994) (invoking
            _________     ___            Universal  Camera   standard  to  emphasize  that   Board  of
            _________________            Immigration Appeals  is not "a unique  kind of administrative            agency  entitled  to  extreme   deference").    We  will  not            "supplant  the   agency's  findings  merely   by  identifying            alternative findings  that could be  supported by substantial            evidence."    Arkansas  v.   Oklahoma,  112  S.Ct.  at  1060.
                          ________       ________            However, though  we defer  to reasonable inferences  drawn by            the Board  from conflicting  evidence, see, Martinez  v. INS,
                                                   ___  ________     ___            970 F.2d  973,  975  (1st  Cir.  1992),  Consolo  v.  Federal
                                                     _______      _______            Maritime Commission, 383  U.S. 607, 619-20 (1966),  deference
            ___________________                                         -9-
                                          9



            is  not  due  where findings  and  conclusions  are based  on            inferences  or presumptions that  are not reasonably grounded            in  the record, viewed as a whole, Universal Camera, 340 U.S.
                                               ________________            at  491; Radio  Officers'  Union v.  NLRB,  347 U.S.  17,  49
                     _______________________     ____            (1954),  or  are merely  personal  views  of the  immigration            judge.  See Damaize-Job v. INS, 787 F.2d 1332, 1337 (9th Cir.
                    ___ ___________    ___            1986).  In any case, credibility findings resting on analysis            of testimony rather than on  demeanor may "deserve less  than            usual deference."   Consolidation Coal v. NLRB, 669 F.2d 482,
                                __________________    ____            488 (7th Cir. 1982).                                         IV.
                                         IV.
                                         ___                                      DISCUSSION
                                      DISCUSSION
                                      __________                      Of the issues Cordero raises on appeal with respect            to  the  denial of  his  application  for asylum,  two  merit            serious discussion: (1) the Board erred in relying on adverse            credibility   and  other  factual   findings  which  are  not            supported by substantial evidence in the record;  and (2) the            Board's decision  is not  supported  by substantial  evidence            because it ignores significant documentary evidence pertinent            both  to  the  credibility   of  Cordero's  claimed  fear  of            persecution on  account of one or  several statutory grounds,            and  to  the persecution  of  similarly  situated persons  in            Guatemala.  We address each argument in turn.            A.        Credibility and Other Factual Findings
            A.        Credibility and Other Factual Findings
            ________________________________________________                                         -10-
                                          10



                      The  Board's  denial  of  asylum adopted  the  IJ's            findings that  Cordero's  application and  testimony (1)  was            rife  with  inconsistencies  and  implausibilities,  and  (2)            failed  to  show either  that he  had  suffered past  harm in            Guatemala,  or that  his  family had  been  harmed since  his            departure, or "that anyone in Guatemala is interested  in him            for  any of the  five statutory grounds  for asylum."   In re
                                                                    __ __            Cordero, slip. op. at 2.
            _______                      As  to  the Board's  second  holding,  it is  well-            established that the first  two reasons are not prerequisites            to   qualify  for   asylum  under   the   statute.     INA               101(a)(42)(A),  8  U.S.C.      1101(a)(42)(A),  8  C.F.R.                208.13(b) and  (b)(2)(i).   INS v. Cardoza-Fonseca,  480 U.S.
                                        ___    _______________            421  (1987).   Matter  of Mogharrabi,  19  I&amp;N Dec.  439 (BIA
                           _____________________            1987).  See also,  Sotelo-Aquije v. Slattery, 17 F.3d  33, 37
                    ___ ____   _____________    ________            (2nd Cir.  1994)  (fact  that petitioner  had  not  yet  been            physically harmed "is not determinative  of whether he has  a            well-founded fear of persecution");  Turcios v. INS, 821 F.2d
                                                 _______    ___            1396,  1402   (9th  Cir.  1987)  (petitioner's  "freedom  was            threatened  when   he  was  watched  continuously   and  felt            compelled to restrict his activities").  And the third reason            is a conclusion  that the  Board could only  have reached  by            relying on the IJ's adverse credibility findings to discredit            the bulk of Cordero's evidence.                                         -11-
                                          11



                      Because   the   Board  adopted   these  credibility            findings as the initial  basis for its denial of  asylum, and            relied on  them in  formulating its alternative  holding that            Cordero  had   in  any   event   not  established   statutory            eligibility  for asylum,  the  sufficiency  of  the  evidence            supporting these  findings remains an  issue on  appeal.   We            evaluate each IJ finding for substantial evidence:            1.        Because  Cordero's affidavit does  not identify the                      "unknown armed men" who attacked him and two of his                      brothers as members of "death squads," nor mentions                      that  the attackers identified  themselves as such,                      the  judge  found  his  testimony  to  that  effect                      inconsistent,  and  his  characterization of  these                      attacks therefore not deserving of credibility.                      The  record  establishes that,  far  from  being "a            significant  fact that one . . .   would be expected to state            in the asylum application or supporting affidavit," as the IJ            asserted, accounts  of  political  attacks  and  killings  in            Guatemala refer to  "unknown attackers," "unidentified  men,"            "armed   assailants"   and   members   of    "death   squads"            interchangeably.    Cordero's  descriptions of  his  and  his            family's  attackers  are  thus  consistent with  how  similar            incidents are  described  in Cordero's  supporting  evidence.            The record  reveals that  precisely because these  groups are            unofficial   and   "clandestine"  they   are   by  definition                                         -12-
                                          12



            "unknown."    In  fact,  the  record suggests  that  in  most            instances   the   only   way   they   are   knowable,   i.e.,            distinguishable from  mere bandits  and criminals, is  by the            threats and  indications of motive that  typically precede or            accompany their  violence.  Both Cordero's  testimony and his            affidavit refer repeatedly to  the attackers' demands that he            discontinue his  activities with  Laicos, and to  warnings of            future violence should he disregard them.                      Viewing Cordero's affidavit and testimony "in light            of the record as a whole," it is difficult to  perceive how a            reasonable factfinder could find an inconsistency between the            labels "death  squad" and  "unknown armed men"  sufficient to            impugn  the  applicant's credibility.    Similarly, Cordero's            testimony  concerning  "strongly  armed  men   with  vehicles            without number plates" is consistent with both labels.            2.        "One must question why [Cordero] would report these                      threats  to  national  police  of   the  Guatemalan                      government."                      The  record shows  that in  Guatemala it  is, among            other  things, a  lack of  response  by authorities  with the
                              ____            power to halt  these sorts  of attacks that  suggests that  a            particular incident was no ordinary crime or random violence.            Viewed in this  context, it makes perfect  sense that victims            would report violent incidents to the authorities.   In fact,            given that the record contains several examples of victims or                                         -13-
                                          13



            relatives  reporting such  incidents to  police, it  does not            support the assumption that  Guatemalans would not attempt to            exercise their legal  rights in order to  prevent, redress or            simply record incidents of persecution.              3.        Given that  Cordero testified that the death squads                      always  carry rifles  and use  them with  impunity,                      "one  must  wonder why  [neither  he  nor his]  two                      brothers who were allegedly attacked by death squad                      members  were not shot  or apparently attacked with                      firearms and were not killed."                      The record documents numerous politically motivated            attacks  upon  social  activists and  religious  lay workers,            many,  if not  most, of  which are  characterized by  acts of            violence  accompanied  by  warnings  and  threats  of  future            violence  that do not result  in the death  of the victim(s).            The record suggests that the use of violence as a vehicle for            intimidation is widespread in  Guatemala.  Understood in this            context, a  reasonable interpretation of  Cordero's testimony            that the death squads  use their weapons with  impunity would            encompass  their use  for purposes  of intimidation,  and not            merely for killing.                      It is difficult to  see how a reasonable factfinder            could  view   Cordero's   off-hand  comment   regarding   his            attackers'  fondness  for weaponry  in  the  context of  this            record,  and   conclude  that   his   credibility  has   been                                         -14-
                                          14



            compromised.  Moreover, to infer that  an asylum applicant is            unlikely to be  persecuted because he and his  relatives were            not killed during attempts to  terrorize them "lead[s] to the            absurd result of  denying asylum to  those who have  actually            experienced persecution  and were fortunate enough to survive            .  . . ".   Del Valle v.  INS, 776 F.2d 1407,  1413 (9th Cir.
                        _________     ___            1985).            4.        The IJ found  it "not  particularly credible"  that                      Cordero  "would not tell  his alleged  attackers in                      October of 1990 that  he was no longer a  member of                      or active  in the  Laicos religious movement  if in                      fact  he was  threatened .  . .  for his  religious                      activities."                      There is  perhaps a superficial basis  for the IJ's            question.  How much credit, however, would his attackers give            to  a protestation that, after so many years, he had resigned            or  retired?   It  is to  be  noted that  this  confrontation            occurred in an urban  area, without the attackers waiting  to            find him in the  countryside.  Could he reasonably  expect to            end these threats by talk?            5.        The  IJ found  it "not  particularly credible  that                      [Cordero's]   attackers,   if   they   were   truly                      interested  in his religious  activities, would rob                      him as  opposed to  physically harming him  as they                      had allegedly threatened to do. . . .".                                         -15-
                                          15



                      The   record,   documenting  a   wide   variety  of            exploitation,  including thefts of  documents, robberies, and            ransacking of artwork, religious and other valuable  property            by those seeking to terrorize or intimidate the populace,  is            to the  contrary, and  contains no  evidence to  support this            assumption.            6.        "One  must wonder  why  the  Guatemalan  government                      would  place its seal on a document . . . extolling                      [Cordero's]   virtues   in  a   movement  allegedly                      targeted   by  government  death  squads  or  would                      provide information purporting  to corroborate  the                      death squad atrocities."                      Referring to the letter  from the Laicos leadership            commemorating  Cordero's  service  and  resignation,  and  to            certain hospital  documents, it  appears that the  IJ assumed            the  government  puts  its  stamp of  approval  on  documents            executed upon  paper bearing government  "seals" after  their
                                                             _____            completion  in concluding that they therefore deserve "little            weight."    This assumption  is not  only unsupported  by any            discernible  evidence,  but  is  contradicted   by  Cordero's            testimony that  these documents  were never submitted  to any            arm of the  Guatemalan government.   In fact, examination  of            the documents  belies the IJ's conclusion:   paper preprinted            with such seals appears to be obtainable from  the government            merely  by payment  of fifty  "centavos de  quetzal"  for the                                         -16-
                                          16



            purpose of  executing "official" documents of  any sort, thus            the government never sees, let alone approves their contents,            as Cordero himself testified.             7.        The  IJ found  that Cordero's  supporting documents                      "are  not  under  oath, are  conclusory  in nature,                      provide  no foundation  for the  stated conclusions                      and . . . are suspect at best."                      An examination of the letters, hospital reports and            other  documents  submitted  in  support  of Cordero's  claim            reveals that they were executed on  official paper, signed by            the  affiant,  sealed  with,  e.g.,  "Laicos  Comprometidos,"            "Hospital General  San Juan de Dios"  or "Hospital Roosevelt"            insignia, and included the language "giving faith to what was            previously said" or  "CERTIFIES."  There is  no evidence that            this is  insufficient to be  considered a sworn  statement in            Guatemala.   Both medical  statements are signed  by hospital            officials and  the heads  of the examining  departments; both            detail the injuries, and their causes, sustained by Cordero's            brothers, as contained in their medical  records.  The Laicos            Comprometidos document  is signed  by both the  President and            Secretary of the organization and describes Cordero's work in            detail.    No reasonable  interpretation  of  these documents            supports the  immigration  judge's conclusions  as  to  their            authenticity or worth.  Cf., Dawood-Haio v. INS, 800 F.2d 90,
                                    ___  ___________    ___            96 (6th  Cir.  1986)  (observation  that  petitioner's  sworn                                         -17-
                                          17



            statements "are not documented" to conclude he is not telling            the truth "is a non-sequitur").            8.        The IJ  found the  fact that Cordero's  wife signed                      her  full  name on  letters  to him,  and  that the                      letters "are addressed to respondent's formal name"                      suspect  because  "one  would normally  expect  the                      spouse to use the more familiar form."                      The record reveals  that Cordero's wife opened  her            letters to her husband  with either "Dear Paco," "My  Beloved            Husband," or "My dear one," while addressing the envelopes to
                                                             _________            "Senor  Juan Francisco Cordero  Trejo."  It  is impossible to            see  how this is contrary to what "one would normally expect"            anywhere.  Nor is there any evidence in the record to suggest            that  signing  a letter  to a  spouse  residing in  a foreign            country  by using one's full  name is contrary  to the common            practice of someone of Mrs. Cordero's cultural background.            9.        If Cordero "were truly targeted by the government,"                      it is "not particularly plausible" that he obtained                      a passport.                      This court has acknowledged  that ability to obtain            a  passport   does  not   necessarily  indicate   absence  of            persecution.  Ipina  v. INS, 868 F.2d 511, 515  n.9 (1st Cir.
                          _____     ___            1989).   The "mere possession of a valid national passport is            no bar to refugee status."  United Nations  High Commissioner            for   Refugees,  Handbook  on  Procedures  and  Criteria  for
                             ____________________________________________                                         -18-
                                          18



            Determining Refugee Status,    48, at 14 (Geneva  1979); See,
            __________________________                               ___            Turcios   v.  INS,  821  F.2d  1396,  1402  (9th  Cir.  1987)
            _______       ___            (incorrect for IJ  to assume government that  allows a person            to leave  will not persecute him upon  return).  Furthermore,            Cordero is not claiming to  have been targeted and threatened            by  the civilian  government, but  by a  shadowy, extra-legal            entity associated with the Guatemalan military.             10.       The  IJ  assumed that  because  Cordero  never held                      office  in  Laicos,  and  led  only  two  or  three                      missions   per  year,   his  involvement   in  this                      religious  movement  was "relatively  limited," and                      that since officers of Laicos "suffered no apparent                      harm . . . for the past several years," Cordero had                      "embellished"  his  alleged  fear:  "Certainly  the                      leading  officers  .  .  .  are  more  visible  and                      susceptible to potential  persecution than are  the                      rank and file members such as respondent."                      The  record is replete with references to incidents            of politically, socially or religiously motivated persecution            of  precisely  the sort  of  non-prominent  lay or  volunteer            workers,  like  Cordero, who  carried  out  the missions  for            social  change  to  which  they or  their  organizations  are            committed.    The IJ's  conclusion  about  who would  have  a            legitimate fear  under these circumstances  in Guatemala thus                                         -19-
                                          19



            cannot be derived from a reasonable appraisal of the evidence            presented in the record.                                        * * *                      Each "inconsistency" or  "implausibility" that  the            IJ identified either appears  to be based upon "expectations"            without  support  in  the  record,  or  inexplicably  refutes            uncontroverted   testimony,  or  is  flatly  contradicted  by            relevant background  and country conditions evidence.   It is            apparent that the IJ did not consider Cordero's testimony and            evidence "in  light of  general conditions" in  Guatemala, as            required  by law.    8  C.F.R.    208.13(a).    The IJ  never            referred to  the significant  country conditions evidence  in            the record.                      This court, in reversing the Board in Perez-Alvarez
                                                            _____________            v. INS, adopted the analysis of a dissenting Board member: 
               ___                      As  a general rule, in considering claims                      of   persecution   I   think  it   highly                      advisable to  avoid assumptions regarding                      the  way other  societies operate.   Time                      and  again  this  Board   has  considered                      appeals  in  which  assumptions  of  this                      nature  have  been proven  to  be totally                      wrong . . . .            857 F.2d 23, 24  (1st Cir. 1988) (nothing in  record sustains            IJ's assumptions, "except  perhaps his general  perception of            life  or political conditions in El Salvador which may or may            not be grounded in fact").                      Here, the  IJ's conclusions are not  drawn from any            perspectives  offered  by the  unique  vantage  point of  the                                         -20-
                                          20



            factfinder, such as witness demeanor, conflicting or confused            testimony,   etc.,  from   which  credibility   is  typically            assessed.   In fact, it  is difficult to  ascertain from what            sort  of evidence  the IJ  drew his  credibility conclusions.            The opinion  states no more than "one must question why . . .            " or "one must wonder why . . . ."  As the record contains no            evidence  that supports  these  findings, we  find that  they            unreasonably  eviscerate Cordero's attempt  to establish both            the  objective  and the  subjective  elements  of his  asylum            claim--that he has been, and fears  being again, targeted for            persecution in Guatemala.                                         -21-
                                          21



            B.        Background and "Country Conditions" Evidence
            B.        Background and "Country Conditions" Evidence
            ______________________________________________________            1.        Credibility and Context
            1.        Credibility and Context
            _________________________________                      A "well-founded fear  of persecution" contains both            a subjective and an  objective element.  Cardoza-Fonseca, 480
                                                     _______________            U.S. at 430-31,  440.  Alvarez-Flores v.  INS, 909 F.2d  1, 5
                                   ______________     ___            (1st  Cir.  1990).    The  former  is  established   via  the            applicant's  credible testimony  that  his  fear is  genuine;            while  the latter is  largely dependent upon  the context and            believability  he  can  establish  for  his   claims  through            presentation  of  reliable,  specific,  objective  supporting            evidence.   Id. (collecting cases).  In addition, the Code of
                        ___            Federal Regulations provides that                       [t]he  testimony  of  the  applicant,  if
                                                             __                      credible in light  of general  conditions
                      _________________________________________                      in the applicant's country of nationality
                      __________________________                      or  last  habitual   residence,  may   be                      sufficient  to  sustain  [his] burden  of                      proof without corroboration.            8 C.F.R.   208.13(a) (emphasis added).                      The  Board recognizes the importance of documentary            evidence both in providing a  plausible context for an asylum            applicant's claim, and in making credibility assessments:                      Without  background  information  against                      which to judge  the alien's testimony, it                      may well  be  difficult to  evaluate  the                      credibility of the testimony.  . . .  The                      applicant's  statements cannot  . .  . be                      considered  in the abstract,  and must be                      viewed  in  the context  of  the relevant                      background  situation.    A knowledge  of                      conditions in the applicant's  country of                      origin .  . . is an  important element in                      assessing the applicant's credibility.                                         -22-
                                          22



            Matter  of Dass,  Int.  Dec. 3122,  1989  WL 331876,  at  *10
            _______________            (citation  omitted).    "[T]he  general  rule  regarding  the            consideration  of asylum  applications by  immigration judges            and the Board .  . . is that they must be  evaluated based on            matters of record (i.e., based  on the evidence introduced by            the parties to the  case under consideration).  Id.  at LEXIS
                                                            ___            *9.                      Cordero   submitted   ample  documentary   evidence            confirming  persecution of  religious, community,  and social            activists, religious lay workers  and members of the clergy.6            This evidence  suggests that  all such activists  tend to  be            viewed by  the shadowy, quasi-military "death squads" Cordero            claims  were  hounding  him  and others  as  responsible  for            inciting rebellion  among poor  peasants in  the countryside,            simply for  helping to improve their quality  of life.  It is            thus extremely important for contextualizing, in  the absence            of  direct corroboration,  the  events which  Cordero  claims            constitute  persecution  or  the  threat  of  persecution  on            account of activities  similar to those  of other victims  in            Guatemala.                      Both the judge and the Board failed to address much            of Cordero's evidence.   With  all deference, it  is far  too                                
            ____________________            6.  The  Board  nowhere  suggests   that  this  evidence   is            unreliable, and we note  that it comes from sources,  such as            the  State  Department  and internationally  recognized  non-            governmental  organizations, generally regarded  by courts of            law as reliable.                                         -23-
                                          23



            extensive  and significant  to  be dismissed  with a  general            statement.     This  failure   unreasonably  eviscerates  the            applicant's attempt to establish the objective element of his            asylum claim.            2.        Pattern and Practice
            2.        Pattern and Practice
            ______________________________                      The  "Immigration  Judge   shall  not  require  the            applicant to provide  evidence that he  would be singled  out            individually for persecution" if he establishes his inclusion            in and  identification  with "similarly  situated" groups  of            persons against which  there is  a "pattern  or practice"  of            persecution  in his  country on  account of  any of  the five            statutory  grounds  for  asylum.   8  C.F.R. 208.13(b)(2)(i).            Cordero supports his fear of persecution on account of one or            several  statutory  grounds  with considerable  documentation            concerning the  treatment of persons in  Guatemala engaged in            similar activities  and  motivated by  similar religious  and            social concerns as himself.  There are some 150 pages of news            items,  reports   from  the   State   Department,  and   from            international     human    rights     and    non-governmental            organizations.                      Again, the Board makes no mention of this evidence,            and  no effort  to  engage  in  the inquiry  necessitated  by            regulation.    Id.   The  record  contains upwards  of  sixty
                           ___            specific  incidents  of threats,  kidnapping, disappearances,            murder  and other  infliction of  harm upon  the  clergy, lay                                         -24-
                                          24



            church  workers  and   others  connected  to   church-related            activities.   It also  contains information regarding similar            violenceagainsthundredsof
                                    othersinvolvedincomparableactivities.                                          V.
                                          V.
                                          __                                      CONCLUSION
                                      CONCLUSION
                                      __________                      Although, for  the reasons  stated, we  believe the            present decision denying eligibility cannot stand, we are not            sufficiently moved to depart from the usual practice and rule            as matter of law.  We remand for further consideration by the            Board.   At the same  time, in all  fairness, we apprise  the            Board  that we have  grave doubts whether  a reasonable fact-            finder making the full study this record calls for could deny            refugee  status  to Cordero.    The  question whether  asylum            should  be  granted   to  Cordero,  assuming  him   to  be  a            statutorily eligible refugee, is a  matter for administrative            determination.                      Remanded.
                      ________                                         -25-
                                          25



